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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

CALIFORNIA DEPARTMENT OF TOXIC
SUBSTANCES CONTROL and the TOXIC
SUBSTANCES CONTROL ACCOUNT,

Plaintiffs,
Vv.

JIM DOBBAS, INC., a California
corporation; CONTINENTAL RAIL, INC., a
Delaware corporation; DAVID VAN OVER,
individually; PACIFIC WOOD
PRESERVING, a dissolved California
corporation; and WEST COAST WOOD
PRESERVING, LLC, a Nevada limited
liability company,

Defendants,

AND RELATED CROSSCLAIMS AND
COUNTERCLAIMS.

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Case No.: 2:14-cv-00595-WBS-EFB

ANSWER OF JIM DOBBAS, INC. TO
COMPLAINT BY CALIFORNIA
DEPARTMENT OF TOXIC
SUBSTANCES CONTROL and the
TOXIC SUBSTANCES CONTROL
ACCOUNT & DEMAND FOR JURY
TRIAL

DEMAND FOR JURY TRIAL
Action filed: March 3, 2014

ANSWER OF JIM DOBBAS, INC. TO DTSC’S COMPLAINT
2:14-cv-00595-WBS-EFB

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Defendant Jim Dobbas, Inc. (“DOBBAS”), by and through its attorneys of record, hereby
answer Plaintiffs California Department of Toxic Substances Control and the Toxic Substances
Control Account (“PLAINTIFFS’) Complaint for Recovery of Response Costs; Declaratory
Relief; Injunctive Relief; Treble Damages; And Civil Penalties, filed on March 3, 2014,
(“Complaint”) as follows:

GENERAL DENIAL

Except as expressly admitted herein, DOBBAS denies cach and every allegation in

PLAINTIFFS’ Complaint. DOBBAS hereby demands trial by jury in this action.
I. JURISDICTION

1. Paragraph 1 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS denies that this
Court has jurisdiction over the claims pursuant to 28 U.S.C. sections 1331 and 1367, and section
113(b) of the Comprehensive Environmental Response, Compensation and Liability Act
(“CERCLA”) 42 U.S.C. section 9613(b).

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2. Paragraph 2 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained therein and on that
basis denies, generally and specifically, each and every allegation.

WI. INTRA-DISTRICT ASSIGNMENT

3. Paragraph 3 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to

which no response is required. To the extent a response is required, DOBBAS lacks sufficient
. knowledge or information to form a belief regarding the allegations contained within Paragraph 3
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.
IV. STATEMENT OF THE ACTION
4, In answer to Paragraph 4 of PLAINTIFFS’ Complaint, DOBBAS admits that the

real property at issue has a street address of 147 A Street, Elmira, California 95625 (“Site”).
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Except as expressly admitted herein, DOBBAS lacks sufficient knowledge or information to form
a belief regarding the allegations contained in paragraph 4 of PLAINTIFFS’ Complaint and on
that basis denies, generally and specifically, each and every such allegation.

Be Paragraph 5 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph 5
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

6. Paragraph 6 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph 6
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

V. PLAINTIFFS

Ts Paragraph 7 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph 7
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

8. Paragraph 8 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph 8
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

VI. DEFENDANTS

9 In answer to Paragraph 9 of PLAINTIFFS’ Complaint, DOBBAS admits that Jim

Dobbas, Inc. is a California corporation, with its principal place of business in Placer County,

California. DOBBAS further admits that it owned an interest in the Site from in or about March
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1997, to in or about 2011. Except as expressly admitted herein, Dobbas lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph 9
of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

10, In answer to Paragraph 10 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
10 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

11. In answer to Paragraph 11 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
11 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

12. In answer to Paragraph 12 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
12 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

13. In answer to Paragraph 13 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
13 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

VII. GENERAL ALLEGATIONS

14. In answer to Paragraph 14 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
14 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

15, In answer to Paragraph 15 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph

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15 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

16. In answer to Paragraph 16 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
16 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

17. In answer to Paragraph 17 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
17 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

18. In answer to Paragraph 18 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
18 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

19, In answer to Paragraph 19 of PLAINTIFFS’ Complaint, DOBBAS admits that in
or about 1997, Collins & Aikman Products LLC (“C&A Products”) sold an interest in the Site to
Defendant DOBBAS. Except as expressly admitted herein, DOBBAS lacks sufficient knowledge
or information to form a belief regarding the allegations contained within Paragraph 19 of
PLAINTIFFS’ Complaint and on that basis denies each and every allegation.

20. In answer to Paragraph 20 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
20 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

2s In answer to Paragraph 21 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
21 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

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22 In answer to Paragraph 22 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
22 of PLAINTIFFS* Complaint and on that basis denies, generally and specifically, each and
every allegation.

Zo, In answer to Paragraph 23 of PLAINTIFFS’ Complaint, DOBBAS denies the
allegation that in December 2007, Defendant DOBBAS agreed to perform certain actions at the
Site. DOBBAS lacks sufficient knowledge or information to form a belief regarding the
remaining allegations contained within Paragraph 23 of PLAINTIFFS’ Complaint and on that
basis denies, generally and specifically, each and every allegation.

24. In answer to Paragraph 24 of PLAINTIFFS’ Complaint. DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
24 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

22 In answer to Paragraph 25 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
25 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

26. In answer to Paragraph 26 of PLAINTIFFS’ Complaint, DOBBAS admits that on
or about February 11, 2011, DOBBAS and Continental Rail, Inc. (“CRI”) sold the Site to David
Van Over (“Van Over”) for $2.00.

ZL. In answer to Paragraph 27 of PLAINTIFFS’ Complaint, DOBBAS admits the
allegation that on or about March 16, 2011, the Department of Toxic Substances Control
(“DTSC”) issued an Imminent or Substantial Endangerment Determination and Remedial Action
Order to Defendants DOBBAS, CRI, and Van Over. DOBBAS lacks sufficient knowledge or
information to form a belief regarding the remaining allegations contained within Paragraph 27 of
PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and every
allegation.

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ANSWER OF JIM DOBBAS, INC. TO DTSC’S COMPLAINT
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28. In answer to Paragraph 28 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
28 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

29. In answer to Paragraph 29 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
29 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

30. In answer to Paragraph 30 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
30 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

31. In answer to Paragraph 31 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
31 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

32. In answer to Paragraph 32 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
32 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

VIII. FIRST CLAIM FOR RELIEF

(Claim for Recovery of Response Costs Pursuant to
Section 107(a) of CERCLA, 42 U.S.C. § 9607(a))

33. In answer to Paragraph 33 of PLAINTIFFS’ Complaint, DOBBAS realleges and
incorporates by reference its answers to paragraphs 1 through 32, inclusive.

34. Paragraph 34 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient

knowledge or information to form a belief regarding the allegations contained within Paragraph
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34 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

35, Paragraph 35 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
35 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

36. Paragraph 36 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
36 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

37, Paragraph 37 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS denies each and
every allegation contained in Paragraph 37 that characterizes section 107(a) of CERCLA, 42
U.S.C. section 9607(a), on the grounds that the statute speaks for itself. DOBBAS denies that it
is an “owner” and/or “operator” of the Site, or was an “owner” and/or “operator” of the Site “at
the time of disposal of a[] hazardous substance” there, as those terms are used in section 107(a) of
CERCLA, 42 U.S.C. section 9607(a). DOBBAS denies each and every allegation contained in
Paragraph 37.

38. Paragraph 38 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
38 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

39. Paragraph 39 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient

knowledge or information to form a belief regarding the allegations contained within Paragraph
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39 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.
IX. SECOND CLAIM FOR RELIEF
(Declaratory Relief Pursuant to Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2))

40. In answer to Paragraph 40 of PLAINTIFFS’ Complaint, DOBBAS realleges and
incorporates by reference its answers to paragraphs 1 through 39, inclusive.

41, Paragraph 41 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
41 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

X. THIRD CLAIM FOR RELIEF

(Failure and Refusal to Comply with Imminent or Substantial Determination
Order and Remedial Action Order — California Health and Safety Code
Sections 325355.5, 25358.3, 25359, 25359.2, 25367)

42. In answer to Paragraph 42 of PLAINTIFFS’ Complaint, DOBBAS realleges and
incorporates by reference its answers to paragraphs 1| through 41, inclusive.

43. Paragraph 43 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
43 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

44, __ Paragraph 44 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS denies each and
every allegation contained in Paragraph 44 that characterizes California Health and Safety Code
section 25358.3(f) on the grounds that the statute speaks for itself. DOBBAS denies each and
every allegation contained in Paragraph 44.

45. Paragraph 45 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to

which no response is required. To the extent a response is required, DOBBAS denies each and
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every allegation contained in Paragraph 45 that characterizes California Health and Safety Code
section 25359(a) on the grounds that the statute speaks for itself. DOBBAS denies each and
every allegation contained in Paragraph 45.

46. Paragraph 46 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS denies each and
every allegation contained in Paragraph 46 that characterizes California Health and Safety Code
section 25359.2 on the grounds that the statute speaks for itself. DOBBAS denies each and every
allegation contained in Paragraph 46.

47, Paragraph 47 of PLAINTIFFS’ Complaint consists entirely of legal conclusions, to
which no response is required. To the extent a response is required, DOBBAS denies each and
every allegation contained in Paragraph 46 that characterizes California Health and Safety Code
section 25367(c) on the grounds that the statute speaks for itself. DOBBAS denies each and
every allegation contained in Paragraph 47.

48. In answer to Paragraph 48 of PLAINTIFFS’ Complaint, DOBBAS denies that it
failed and refused, without sufficient cause, to comply with the Imminent or Substantial
Endangerment Determination Order and Remedial Action Order. In addition to the allegation
expressly denied herein, DOBBAS lacks sufficient knowledge or information to form a belief
regarding the allegations contained within Paragraph 48 of PLAINTIFFS’ Complaint and on that
basis denies, generally and specifically, each and every allegation.

49. In answer to Paragraph 49 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
49 of PLAINTIFFS’* Complaint and on that basis denies, generally and specifically, each and
every allegation.

50. In answer to Paragraph 50 of PLAINTIFFS’ Complaint, DOBBAS lacks sufficient
knowledge or information to form a belief regarding the allegations contained within Paragraph
50 of PLAINTIFFS’ Complaint and on that basis denies, generally and specifically, each and
every allegation.

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XI. AFFIRMATIVE DEFENSES
DOBBAS alleges the following affirmative defenses to PLAINTIFFS’ Complaint:
FIRST AFFIRMATIVE DEFENSE
(Failure to State a Claim)
lL, The Complaint fails to state any claim against DOBBAS upon which relief can be
granted.
SECOND AFFIRMATIVE DEFENSE
(Not a Responsible Party)
2s DOBBAS is not a “covered person,” “responsible party,” “potentially responsible
party,” or “liable person” within the meaning of CERCLA section 107(a), 42 U.S.C. section
9607(a) or California Health and Safety Code section 25323.5(a).
THIRD AFFIRMATIVE DEFENSE
(PLAINTIFFS are Responsible Parties)
3 PLAINTIFFS are “covered persons,” “responsible parties,” “potentially
responsible parties,” and “liable persons” within the meaning of CERCLA section 107(a), 42

U.S.C. section 9607(a) or California Health and Safety Code section 25323.5(a). As such,

PLAINTIFFS’ claims against DOBBAS are barred or should be reduced in proportion to
PLAINTIFFS’ own liability.
FOURTH AFFIRMATIVE DEFENSE
(Act of God)

4. Any release or threatened release of a hazardous substance, any damages allegedly
resulting therefrom, and any response costs or expenditures allegedly incurred as a result thereof,
were caused in whole or in part by an act or acts of God.

FIFTH AFFIRMATIVE DEFENSE
(Acts of Omissions of Others)

5: Any release or threatened release of a hazardous substance, any damages allegedly

resulting therefrom, and any response costs or expenditures allegedly incurred as a result thereof,

were caused in whole or in part by acts or omissions of other defendants in this action or of third
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parties, other than an employee or agent of, or one whose act or omission occurred in connection
with a contractual relationship with, DOBBAS. DOBBAS exercised due care with respect to any
hazardous substance, taking into consideration the characteristics of such hazardous substance, in
light of all relevant facts and circumstances, and took precautions against foreseeable acts or
omissions of such third parties and the consequences that could foreseeably result from such acts
or omissions.

SIXTH AFFIRMATIVE DEFENSE

(Acts or Omissions of PLAINTIFFS)

6. Any release or threatened release of a hazardous substance, any damages allegedly
resulting therefrom, and any response costs or expenditures allegedly incurred as a result thereof,
were caused in whole or in part by acts and/or omissions by PLAINTIFFS.

SEVENTH AFFIRMATIVE DEFENSE
(Unrecoverable Costs)

7. Some or all of the costs alleged in the Complaint do not constitute response costs
within the meaning of CERCLA section 101(25), 42 U.S.C. section 9601(25), do not constitute
removal or remedial costs within the meaning of CERCLA sections 101(23) and 101(24), 42
U.S.C. sections 9601(23) and 9601(24), and are unreasonable, unnecessary, and inconsistent with
the National Contingency Plan. Such costs, therefore, are unrecoverable.

EIGHTH AFFIRMATIVE DEFENSE
(Future Costs Not Recoverable)

8. PLAINTIFFS cannot recover future costs, if any, under CERCLA section 107(a)(4),
42 U.S.C. section 9607(a)(4).

NINTH AFFIRMATIVE DEFENSE
(Innocent Party)

9. DOBBAS is an innocent party pursuant to CERCLA section 101(35)(A), 42 U.S.C.
section 9601(35)(A).
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TENTH AFFIRMATIVE DEFENSE
(Waiver, Equitable Estoppel and Equitable Indemnity)

10. PLAINTIFFS’ claims are barred by the doctrines of waiver, equitable estoppel and
equitable indemnity.

ELEVENTH AFFIRMATIVE DEFENSE
(Laches)
Td PLAINTIFFS’ claims are barred by the doctrine of laches because of PLAINTIFFS’
inexcusable and unreasonable delay.
TWELFTH AFFIRMATIVE DEFENSE
(Unclean Hands)
12. PLAINTIFFS’ claims are barred by the doctrine of unclean hands,
THIRTEENTH AFFIRMATIVE DEFENSE
(Failure to Join Indispensable Parties)

13. PLAINTIFFS have failed to join indispensable parties as required under state and
federal law.

FOURTEENTH AFFIRMATIVE DEFENSE
(Comparative Fault)

14. The responsibility for damages alleged in the Complaint, assuming they are proven,
are the result of acts and/or omissions by the other defendants and/or PLAINTIFFS, and therefore,
responsibility must be apportioned pursuant to the principles of comparative fault.

FIFTEENTH AFFIRMATIVE DEFENSE
(Statute of Limitations)

13. Each claim for relief in the Complaint is barred by the applicable statutes of

limitations, including but not limited to, CERCLA section 113(g), 42 U.S.C. section 9613(g),
California Health and Safety Code section 25360.4, and California Code of Civil Procedure section
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SIXTEENTH AFFIRMATIVE DEFENSE
(Failure to Mitigate)

16. PLAINTIFFS have failed to take reasonable steps to mitigate the damages for which
they seek relief in the Complaint.

SEVENTEENTH AFFIRMATIVE DEFENSE
(Lack of Causation)

Vy, No act or omission by DOBBAS, or by any person or entity for which DOBBAS is or
was responsible, is the cause in fact or proximate cause of any costs or damages alleged in the
Complaint.

EIGHTEENTH AFFIRMATIVE DEFENSE
(Assumption of Risk)

18. PLAINTIFFS have assumed the risk of the conditions and damages for which they
seek relief in the Complaint.

NINETEENTH AFFIRMATIVE DEFENSE
(Divisibility and Apportionment)

19, If DOBBAS is judged liable, which lability DOBBAS denies, for any contamination,
condition, or harm alleged in the Complaint, such contamination, condition, and/or harm is divisible and
DOBBAS is not jointly and severally liable.

TWENTIETH AFFIRMATIVE DEFENSE
(Ripeness)
20. PLAINTIFFS’ claims for relief are not ripe.
TWENTY-FIRST AFFIRMATIVE DEFENSE
(De Minimis Contribution, If Any)

21. DOBBAS' contribution to the harm alleged by the Complaint, if any is proven to
exist, is de minimis.
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TWENTY-SECOND AFFIRMATIVE DEFENSE
(No Standing)

22. PLAINTIFFS do not have standing to bring an action against DOBBAS under

applicable law, including, but not limited to CERCLA section 107, 42 U.S.C. section 9607.
TWENTY-THIRD AFFIRMATIVE DEFENSE
(No Duty)

23. DOBBAS owed no duty of care to PLAINTIFFS at any and all times relevant to
the allegations in the Complaint. DOBBAS complied with all applicable laws and regulations
and has acted in a careful, reasonable, and prudent manner.

TWENTY-FOURTH AFFIRMATIVE DEFENSE
(Money Damages Adequate)

24. Declaratory relief is not appropriate for some or all of the allegations contained in the
Complaint because, if PLAINTIFFS are entitled to a remedy, which DOBBAS denies, money damages
would be an adequate remedy.

TWENTY-FIFTH AFFIRMATIVE DEFENSE
(Reasonableness and Good Faith)

25. | DOBBAS acted reasonably and in good faith at all times material herein, based on
all relevant facts and circumstances known by DOBBAS at the time it so acted. Accordingly,
PLAINTIFFS are barred from any recovery in this action.

TWENTY-SIXTH AFFIRMATIVE DEFENSE
(Performance of Duties)

26. DOBBAS has fully performed any and all contractual, statutory, and other duties
owed, and PLAINTIFFS therefore are estopped from asserting any cause of action against
DOBBAS.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE
(Aggravation of Harm)
27. DOBBAS is informed and believes, and based thereon alleges, that PLAINTIFFS’

actions caused the release or threatened release of hazardous substances, if any, or otherwise
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aggravated the harm, if any, alleged in the Complaint. Therefore, any recovery by PLAINTIFFS
under the Complaint should be barred or reduced accordingly.
TWENTY-EIGHTH AFFIRMATIVE DEFENSE
(Equitable Factors)

28. Under CERCLA section 113(0(1), 42 U.S.C. section 9613(0(1), the Court is
directed to consider such equitable factors as the Court deems appropriate in resolving actions for
contribution under CERCLA. DOBBAS is informed and believes, and based thereon alleges, that
upon reviewing such equitable factors, the Court in this action will determine that DOBBAS
bears no responsibility for any response costs under CERCLA.

TWENTY-NINTH AFFIRMATIVE DEFENSE
(No Liability for Others' Releases)

29. If DOBBAS is deemed liable for any of PLAINTIFFS’ response costs, which
DOBBAS denies, DOBBAS is not liable for any costs that were not incurred as a direct result of
hazardous substance releases by DOBBAS.

THIRTIETH AFFIRMATIVE DEFENSE
(Offset)

30. If PLAINTIFFS are held entitled to recover any costs or damages against
DOBBAS, which entitlement DOBBAS denies, such recovery must be reduced by the greater of
(1) any amount previously obtained by PLAINTIFFS for any harms alleged in Complaint, or (2)
the equitable share of the liability of any person or entity from which PLAINTIFFS previously
received payment, whether by direct payment, offset or otherwise, for the harms alleged in the
Complaint.

THIRTY-FIRST AFFIRMATIVE DEFENSE
(Joint and Several Liability Improper)

31. The Complaint fails to state a claim or set forth facts sufficient to support a finding
that DOBBAS should be held jointly and severally liable for any harm or damages alleged in the
Complaint.

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THITY-SECOND AFFIRMATIVE DEFENSE
(Subject Matter Jurisdiction)

32. The Court lacks subject matter jurisdiction to consider PLAINTIFFS’ Complaint
and each cause of action therein.

THIRTY-THIRD AFFIRMATIVE DEFENSE
(Compliance with Laws)

33. DOBBAS is not liable to PLAINTIFFS because DOBBAS acted reasonably and
with due care and complied with all applicable statutes, regulations, ordinances, and/or other
laws.

THIRTY-FOURTH AFFIRMATIVE DEFENSE
(Lack of Control)

34. The discharges referred to in PLAINTIFFS’ Complaint, if any, were caused by
acts or omissions of entities or persons other than DOBBAS and over whom DOBBAS had no
control.

THIRTY-FIFTH AFFIRMATIVE DEFENSE
(Reasonable Precaution)

35. The discharges alleged in PLAINTIFFS’ Complaint, if any there are, were caused
by any or one or combination of the following: an act of war; a unanticipated grave natural
disaster or other natural phenomenon of an exceptional, inevitable and irresistible character, the
effects of which could not have been prevented or avoided by the exercise of due care or
foresight; negligence on the part of the State, the United States, or any department or agency
thereof; or any other circumstances or event which caused the discharge despite the exercise of
every reasonable precaution to prevent and/or mitigate and/or avoid adverse consequences from
the alleged discharge.

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THIRTY-SIXTH AFFIRMATIVE DEFENSE
(Reliance)

36. | DOBBAS, at all relevant times relative to the matters that form the subject of
PLAINTIFFS’ Complaint, acted in reliance upon the directions given it by the pertinent
government authorities and regulations.

THIRTY-SEVENTH AFFIRMATIVE DEFENSE
(Independent, Intervening, and/or Superseding Claims)

37, Any act or omission of DOBBAS was not a substantial factor in bringing about
PLAINTIFFS’ alleged injuries and was not a contributing cause thereof. If PLAINTIFFS
sustained losses or injuries, such losses or injuries were the result of independent, intervening, or
superseding forces and/or actions or omissions of third parties over which DOBBAS had no
control and did not in any way participate in and for which DOBBAS is not liable.

THIRTY-EIGHTH AFFIRMATIVE DEFENSE
(Release or Waiver)

38. The Complaint and each claim therein, is barred, in whole or in part, by the
doctrines of express or implied release or waiver.

THIRTY-NINTH AFFIRMATIVE DEFENSE
(Undue Delay)

39. PLAINTIFFS have, contrary to their legal and equitable obligations, failed to take
effective action to abate the harm alleged in the Complaint for several years, a delay that has
resulted in great prejudice to DOBBAS. Given this delay on the part of PLAINTIFFS, an award
of equitable injunctive relief against DOBBAS would be inappropriate and inequitable.

FORTIETH AFFIRMATIVE DEFENSE
(No Declaratory Relief)

40, PLAINTIFFS are not entitled to declaratory relief against DOBBAS and such
claims are not ripe for adjudication.
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FORTY-FIRST AFFIRMATIVE DEFENSE
(Preemption)

41. | PLAINTIFFS’ claims and/or the remedies PLAINTIFFS seek are preempted, in
whole or in part, by state and/or federal law.

FORTY-SECOND AFFIRMATIVE DEFENSE
(Necessity)

42. Any alleged injuries were the result of intentional but reasonable and reasonably

necessary actions to protect persons or property from harm.
FORTY-THIRD AFFIRMATIVE DEFENSE
(Uncertainty)

43. | The Complaint and each purported cause of action contained therein, is uncertain
as to the wrongful acts of DOBBAS.

FORTY-FOURTH AFFIRMATIVE DEFENSE
(Failure to Plead with Sufficient Particularity/Reservation of Rights)

44, PLAINTIFFS do not describe their factual allegations or claims for relief with
sufficient particularity to allow DOBBAS to ascertain what other affirmative defenses may exist,
and DOBBAS therefore reserves the right to assert all affirmative defenses which may pertain to
PLAINTIFFS’ Complaint once the precise nature of the factual allegations and claims for relief is
ascertained. DOBBAS also reserves the right to assert all other defenses that arise through
discovery, at trial, or otherwise.

XII. PRAYER FOR RELIEF

WHEREFORE, DOBBAS prays for judgment as follows:

1. That this matter be tried before a jury;

2s That PLAINTIFFS take nothing by way of their Complaint against DOBBAS;

3. That judgment be entered in favor of DOBBAS and the PLAINTIFFS’ Complaint
be dismissed with prejudice;

4, That DOBBAS be awarded its reasonable attorneys’ fees, costs of suit, expenses

and disbursements, according to proof;
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Bi That in the event DOBBAS is deemed liable to PLAINTIFFS in any manner, that
such liability be apportioned among all parties, including PLAINTIFFS, proportionate to each
party’s degree of fault; and

6. That the Court grant such other and further relief as it may deem just and proper.

KING WILLIAMS & GLEASON LLP

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Jennifed Hartman King
role R. Gleason
Shelby M. Gatlin

Attorneys for Defendant JIM DOBBAS, INC.

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DEMAND FOR JURY TRIAL

Defendant Jim Dobbas, Inc. hereby requests a jury trial on all issues raised in this answer

to Plaintiffs’ Complaint.

Dated: June 10, 2014 KING WILLIAMS & GLEASON LLP

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